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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 1:05cr36-SPM

ALEX CHRISTOPHER LYONS,

           Defendant.
_______________________________/

                     ORDER CONTINUING SENTENCING

      Upon consideration, the Defendant’s unopposed Motion to Continue

Sentencing (doc. 200) is granted. The sentencing hearing is reset for 1:30 p.m.

on August 6, 2007, at the United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this 30th day of May, 2007.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
